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                      UNITED STATES DISTRICT COURT
                                              FOR THE

                                MIDDLE DISTRICT OF GEORGIA


      UNITED STATES OF AMERICA

                      v.                            Crim. No. 4:19-CR-23-001 (CDL)


           ALEXIS STANFORD

 On November 6, 2020, the Court issued a summons for Alexis Stanford for violating the terms of
her probation based on a Petition for Action filed on the same date. For good and sufficient cause
made known to the Court, it is ordered that the Petition for Action filed on November 6, 2020 be
dismissed. Accordingly, the Revocation Hearing scheduled for July 15, 2021 is canceled.

                                                         Respectfully submitted,




                                                         Roberto E. Pastrana
                                                         U.S. Probation Officer

                                        ORDER OF COURT
For good and sufficient cause, it is ordered that the Petition for Action filed on November 6, 2020 be
dismissed.

     Dated this      8th      day of             June             , 2021.




                                                        S/Clay D. Land
                                                        CLAY D. LAND
                                                        U.S. DISTRICT JUDGE
